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 7
                  IN THE UNITED STATES DISTRICT COURT FOR THE
 8
                           EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,           )             CR F 04-5356 AWI
12                                       )
                       Plaintiff,        )
13                                       )             STIPULATION REGARDING
           v.                            )             DEFENDANT SUKHWINDER
14                                       )             SINGH’S REQUEST TO
     SUKHWINDER SINGH,                   )             LEAVE COUNTRY
15                                       )
                       Defendant.        )
16                                       )
     ___________________________________ )
17
18
     Defendant, SUKHWINDER SINGH, by and through, Anthony P. Capozzi, was granted
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     permission by this Court to travel to India and to return to the United States on Tuesday,
20
     February 20, 2007.
21
            The purpose of Mr. Singh’s trip was to visit family and appear in a family court matter
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     to which he was summoned. Due to circumstances beyond Mr. Singh’s control, his court
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     appearance was continued and Mr. Singh has yet to return to this country. (A copy of the
24
     summons and declaration is attached.) Mr. Singh is now scheduled to appear before the court
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     in India on March 15, 2007 and is scheduled to return to the United States on March 20, 2007.
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             The address where Mr. Singh is staying is VPO – Kot Kalan, Dist. Jalandhar, Punjab.
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     The telephone number is 011-91-981-586-7674.
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           Case 1:04-cr-05356-AWI Document 405 Filed 03/08/07 Page 2 of 2


 1           Assistant United States Attorney, Mark Cullers has been contacted and has no objection
 2   to this request.
 3   Mr. Singh will return his passport to the court upon his return to the United States.
 4                                                   Respectfully submitted,
 5   Dated: March 6, 2007
 6                                                                    /s/ Anthony P. Capozzi
 7                                                            Anthony P. Capozzi,
                                                              Attorney for Defendant,
 8                                                            Sukhwinder Singh
 9
     Dated: March 6, 2007
10
                                                                      /s/ Mark Cullers
11
                                                              Mark Cullers,
12                                                            Assistant United States Attorney
13
                                                   ORDER
14
             Good cause having been shown, Mr. Singh’s conditions of release have been
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     modified to allow him to travel to Punjab, India, to testify in a court matter. Due to a
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     continuance in the court matter, Mr. Singh’s leave of the Eastern District of California shall
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     now be continued to March 20, 2007.
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             Mr. Singh’s passport shall be returned by the court to allow him to travel for the purposes
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     of this trip. Mr. Singh shall return the passport to the court upon his return to the Eastern District
20
     of California.
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22   IT IS SO ORDERED.
23   Dated:     March 8, 2007                             /s/ Anthony W. Ishii
24   0m8i78                                         UNITED STATES DISTRICT JUDGE

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